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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     )      Chapter 11
                                                               )
    STRUCTURLAM MASS TIMBER U.S.,                              )      Case No. 23-10497 (CTG)
    INC. et al,1                                               )
                                                               )
                                 Debtor.                       )
                                                               )
                                                               )
    HEATHER L. BARLOW AS                                       )
    LIQUIDATING TRUSTEE OF THE                                 )
    STRUCTURLAM LIQUIDATING TRUST,                             )
                                                               )      Adversary Case No. 25-50533 (CTG)
                                 Plaintiff,                    )
                                                               )
    v.                                                         )
                                                               )
    DAY & ROSS INC.,                                           )
                                                               )
                                 Defendant.                    )
                                                               )

                        SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                              IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the bankruptcy court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall file a
motion or answer to the complaint within 35 days.

    Address of Clerk:                                              824 N. Market Street, 3rd Floor
                                                                   Wilmington, DE 19801




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
         number or Canadian business number, as applicable, include: Structurlam Mass Timber U.S., Inc. (6287); Natural
         Outcomes, LLC (n/a); Structurlam Mass Timber Corporation (5050); and SLP Holdings Ltd. (3114). The Debtors
         have sold substantially all of their assets, and their remaining assets have vested in the Structurlam Liquidating
         Trust. The Structurlam Liquidating Trust and Liquidating Trustee may be contacted through undersigned counsel.
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At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

 Name and Address of Plaintiff’s Attorney:            Donna L. Culver, Esquire
                                                      Morris, Nichols. Arsht & Tunnell LLP
                                                      1201 N Market St, 16th Floor
                                                      P.O. Box 1347
                                                      Wilmington, DE 19801-1347

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the
complaint will be held at the following time and place.

 Address:                                             Date and Time:

 824 N. Market Street, 3rd Floor, Courtroom 7         June 18, 2025, at 10:00 a.m. (ET)
 Wilmington, DE 19801



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE
DEEMED TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE
BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Date: April 17, 2025                                           /s/ Una O’Boyle
                                                               Clerk of the Bankruptcy Court




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

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    In re:                                                     )     Chapter 11
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    STRUCTURLAM MASS TIMBER U.S.,                              )     Case No. 23-10497 (CTG)
    INC. et al,1                                               )
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    HEATHER L. BARLOW AS                                       )
    LIQUIDATING TRUSTEE OF THE                                 )
    STRUCTURLAM LIQUIDATING TRUST,                             )
                                                               )     Adversary Case No. 25-50533 (CTG)
                                 Plaintiff,                    )
                                                               )
    v.                                                         )
                                                               )
    DAY & ROSS INC,                                            )
                                                               )
                                 Defendant.                    )
                                                               )

                         NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

       As party to litigation you have a right to adjudication of your matter by a judge of this
Court. Settlement of your case, however, can often produce a resolution more quickly than
appearing before a judge. Additionally, settlement can also reduce the expense, inconvenience,
and uncertainty of litigation.

       There are dispute resolution structures, other than litigation, that can lead to resolving your
case. Alternative Dispute Resolution (ADR) is offered through a program established by this
Court. The use of these services is often productive and effective in settling disputes. The
purpose of this Notice is to furnish general information about ADR.

        The ADR structures used most often are mediation, early-neutral evaluation,
mediation/arbitration and arbitration. In each, the process is presided over by an impartial third
party, called the “neutral”.

1
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        In mediation and early neutral evaluation, an experienced neutral has no power to impose
a settlement on you. It fosters an environment where offers can be discussed and exchanged. In
the process, together, you and your attorney will be involved in weighing settlement proposals and
crafting a settlement. The Court in its Local Rules require all ADR processes, except threat of a
potential criminal action, to be confidential. You will not be prejudiced in the event a settlement
is not achieved because the presiding judge will not be advised of the content of any of your
settlement discussions.

        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful,
agree that the mediator will act as an arbitrator. At that point, the process is the same as arbitration.
You, through your counsel, will present evidence to a neutral, who issues a decision. If the matter
in controversy arises in the main bankruptcy case or arises from a subsidiary issue in an adversary
proceeding, the arbitration, through voluntary, may be binding. If a party requests de novo review
of an arbitration award, the judge will rehear the case.

       Your attorney can provide you with additional information about ADR and advise
you as to whether and when ADR might be helpful in your case.


Dated: April 17, 2025                                    /s/ Una O’Boyle
                                                         Clerk of Court




                                                    2
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                                CERTIFICATE OF SERVICE

I, Donna L. Culver, certify that I am, and at all times during the service of process was, not less
than 18 years of age and not a party to the matter concerning which service of process was made.
I further certify that service of this summons and a copy of the complaint was made on April 17,
2025, by:

☒      Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

       Day & Ross Inc.                                   Day & Ross Inc.
       Attn: Office Managing or General Agent            Attn: Office Managing or General Agent
       11470 131st Street                                398 Main St
       Surrey, BC V3R 4S7                                Hartland, NB E7P 1C6
       Canada                                            Canada

☐      Personal Service: By leaving the process with defendant or with an officer or agent of
       defendant at:

☐      Residence Service: By leaving the process with the following adult at:

☐      Certified Mail Service on an Insured Depository Institution: By sending the process by
       certified mail addressed to the following officer of the defendant at:

☐      Publication: The defendant was served as follows: [Describe briefly]

☐      State Law: The defendant was served pursuant to the laws of the State of _____________,
       as follows: [Describe briefly]                                            (name of state)


       Under penalty of perjury, I declare that the foregoing is true and correct.


        Date: April 17, 2025             /s/ Donna L. Culver

          Print Name:                    Donna L. Culver, Esquire

          Business Address:              Morris, Nichols, Arsht & Tunnell LLP
                                         1201 N. Market St, 16th Floor
                                         P.O. Box 1347
                                         Wilmington, DE 19801-1347
